820 F.2d 1225
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Lowell G. MAYNARD, Plaintiff-Appellant,v.P. W. KEOHANE, Warden, Defendant-Appellee.
    No. 87-5030
    United States Court of Appeals, Sixth Circuit.
    June 22, 1987.
    
      Before KENNEDY and MILBURN, Circuit Judges, and CONTIE, Senior Circuit Judge.
    
    
      1
      This case has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the record and the briefs, this panel agrees unanimously that oral argument is not needed.  Rule 34(a), Federal Rules of Appellate Procedure.
    
    
      2
      This pro se plaintiff appeals an order of the district court which dismissed his prisoner civil rights complaint upon entry of summary judgment for the defendant.
    
    
      3
      It is ORDERED that the district court's judgment be affirmed for the reasons stated by the district court in its order of December 16, 1986.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    